966 F.2d 1444
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of AMERICA, Plaintiff-Appellee,v.Julio BURRIOS, Defendant-Appellant.
    No. 92-6186.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 11, 1992
    
      Julio Burrios, Appellant Pro Se.
      James Christopher Savage, Rockville, Maryland;  Breckinridge Long Willcox, United States Attorney, Baltimore, Maryland, for Appellee.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Julio Burrios appeals from the district court's order denying his Fed.  R. Civ. P. 60(b) Motion for Reconsideration.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Burrios, Nos.  CR-86-102-S, CA-91-2294-S (D. Md. Feb. 11, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    